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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

 

KYRA CANNING,
Plaintiff,

Vv.

WILLIAM SMITH, et al.,
Defendants.

 

JARROD BLACKWOOD, et al., individually
and on behalf of a class of similarly situated
individuals,

Consolidated Plaintiffs,

Vv,

JOHN/JANE DOES I-X et al.
Consolidated Defendants.

Lead Civil Action No. 3:20-cv-401

 

MARIA LOURDES MAURER,
Plaintiff,

Vv.

CITY OF RICHMOND, et al.,
Defendants.

 

 

ORDER

Civil Action No. 3:20-cv-668

This matter comes before the Court on its own initiative. On February 1, 2021, the Court

received a bill from Mark E. Rubin totaling $2,968.75 for services rendered in his capacity as

special master (the “January bill”). Pursuant to the Order appointing Mr. Rubin, the Court will

allocate payment of the January bill among the parties.

Upon due consideration, the Court ORDERS the following:
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1) The City of Richmond shall pay one-fourth of the January bill, which amounts to
$742.20;

2) William Smith and William Blackwell shall pay one-eighth of the January bill, which
amounts to $371.09;

3) Gary T. Settle shall pay one-eighth of the January bill, which amounts to $371.09;

4) Geoffrey McDonald & Associates PC shall pay one-sixth of the January bill, which
amounts to $494.79;

5) Thomas H. Roberts & Associates PC shall pay one-sixth of the January bill, which
amounts to $494.79; and

6) Commonwealth Law Group and Halperin Law Center shall pay one-sixth of the January
bill, which amounts to $494.79.

It is so ORDERED.

Let the Clerk send a copy of this Order to all counsel of record.

 

Date: 2 February 2021
Richmond, VA Is/ I, 4

John A. Gibney, a? °
United States District Judge

 

 

 

 

! Smith and Blackwell can apportion payment among themselves however they prefer.

2 Commonwealth Law Group and Halperin Law Center can apportion payment among
themselves however they prefer.
